               Case 21-17336-MAM            Doc 42     Filed 09/20/21     Page 1 of 3




                          UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF FLORIDA
                              WEST PALM BEACH DIVISION

In re:                                                                  Case No.:21-17336-MAM
                                                                        Chapter 12
ANISA NAZAROVA

         Debtor.
                                        /

        REQUEST FOR JUDICIAL NOTICE IN SUPPORT OF DEER RUN
      PROPERTY OWNERS’ ASSOCIATION, INC.'S MOTION TO DISMISS
      CHAPTER 12 CASE WITH PREJUDICE FOR BAD FAITH FILING AND
 FOR ORDER GRANTING PROSPECTIVE RELIEF FROM THE AUTOMATIC STAY

         DEER RUN PROPERTY OWNERS' ASSOCIATION, INC. (“Deer Run”), hereby

requests, pursuant to Rule 201 of the Federal Rules of Evidence and Rule 9017 of the Federal

Rules of Bankruptcy Procedure, that the Court take judicial notice of Exhibits “A” – “V” attached

to Deer Run’s Motion to Dismiss Chapter 12 Case with Prejudice for Bad Faith Filing and for

Order Granting Prospective Relief from the Automatic Stay (the “Motion”) (Doc. 40).

         Facts subject to judicial notice include those which "can be accurately and readily

determined from sources whose accuracy cannot reasonably be questioned." Fed. R. Evid.

201(b)(2). "The Court must take judicial notice if a party requests it and the Court is supplied with

the necessary information." Fed. R. Evid. 201(c)(2). Courts regularly take judicial notice of

undisputed matters of public record, including documents on file in Federal or State Courts. See

e.g., Beepot v. J.P. Morgan Chase Nat’l Servs. Inc., 57 F. Supp.3d 1358, 1366 (M.D. Fla. 2014)

(quoting United States v. Jones, 29 F.3d 1549, 1553 (11th Cir. 1994) (holding “a court may take

notice of another court’s order ... for the limited purpose of recognizing the ‘judicial act’ that the

order represents or the subject matter of the litigation.”)).
               Case 21-17336-MAM           Doc 42     Filed 09/20/21      Page 2 of 3




       Exhibits “A” – “V” are all documents of public record and include documents on file in

Federal and State Courts. To the extent Exhibits “A” – “V” include dockets to the federal and state

court proceedings, Deer Run further requests this Court to take judicial notice of any and all other

documents on file in those proceedings which have been referenced in the Motion or which the

Court may determine are appropriate to rely upon in ruling on Deer Run’s Motion.

       Deer Run offers Exhibits “A” – “V” in support of Deer Run’s Motion to Dismiss the

Debtor’s Chapter 12 Case with Prejudice and for in rem Prospective Stay Relief, as these public

records/filings, along with filings and deficiencies noted on this Court’s docket, illustrate that this

Chapter 12 case was not a bona fide Chapter 12 petition for relief, but rather another attempt to

delay, hinder, and/or defraud Deer Run as a Secured Creditor of the Subject Property.

       For the foregoing reasons, Deer Run respectfully requests this Court take judicial notice of

Exhibits “A” through “V” of Deer Run’s Motion to Dismiss Chapter 12 Case (Doc. 38), and all

such other documents referenced therein, and all such other court filings and public records as the

Court deems appropriate.

       Dated this 20th day of September, 2021.
                                                       ROSENBAUM PLLC
                                                       Counsel for Deer Run Property Owners’
                                                       Association, Inc.
                                                       250 S. Australian Avenue, 5th Floor
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                                                       By: /s/ Steven R. Braten, Esq._______
                                                               Steven R. Braten, Esq.
                                                               Florida Bar No. 18074
               Case 21-17336-MAM           Doc 42   Filed 09/20/21   Page 3 of 3




                                   CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that the foregoing has been served electronically this 20th day of

September 2021 through the Court’s CM/ECF system on all parties on the service list and by U.S.

mail on the manual service list:

Notice will be electronically mailed to:

Anisa Nazarova, Debtor
almatovalina@mail.ru (Per Doc. 36)

Michele A Cavallaro on behalf of Creditor Fidelity National Title Group
michele.cavallaro@fnf.com, andrea.brodsky@fnf.com

Heidi A Feinman on behalf of U.S. Trustee Office of the US Trustee
Heidi.A.Feinman@usdoj.gov

Robert C Furr
danderson@furrcohen.com, rcf@trustesolutions.net

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USTPRegion21.MM.ECF@usdoj.gov

Hampton Peterson, Esq on behalf of Creditor Palm Beach County Tax Collector
legalservices@PBCTax.com


Via US Mail:

Anisa Nazarova
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Perm area, 618150,



                                                    By: /s/ Steven R. Braten, Esq._______
                                                            ATTORNEY
